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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SYDNEY WILLIAMS,              )
                              )
     Plaintiff,               )
                              )
v.                            )                    Case No.:
                              )
BRISTOL AUBURN PARTNERS, LLC; )                    JURY TRIAL DEMANDED
and RAM PARTNERS, LLC;        )
                              )
     Defendant.               )


                                  COMPLAINT


      Plaintiff, Sydney Williams, brings this Complaint for damages and demand

for jury trial against Defendants Bristol Auburn Partners, LLC, and Ram Partners,

LLC, and states as follows:

                               INTRODUCTION

      1.      Plaintiff, Sydney Williams, was a student at Auburn University until

the fall of 2019 when, upon information and belief, she was exposed to toxic mold

at “Two 21 Armstrong,” an apartment complex located at 221 Armstrong Street,

Auburn, Alabama 36830. Sydney became seriously ill and suffered severe

personal injury. Upon information and belief, the subject apartment complex is

owned by Defendant Bristol Auburn Partners, LLC. Upon information and belief,
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the subject apartment complex is managed and maintained by Defendant Ram

Partners, LLC.

                             PARTIES AND VENUE

      2.      Plaintiff, Sydney Williams (hereinafter “Sydney”), is an adult

resident citizen of Volusia County, Florida.

      3.      Defendant, Bristol Auburn Partners, LLC (hereinafter “Bristol

Auburn Partners”), is a Tennessee corporation with its principal place of business

located at 325 Seaboard Lane, Suite 190, Franklin, Tennessee 37067. At all times

material hereto, Defendant Bristol Auburn Partners owned the subject apartment

complex located at 221 Armstrong Street, Auburn, Alabama 36830. Defendant

Bristol Auburn Partners’ registered agent for service of process is CT Corporation

System, located at 2 North Jackson Street, Suite 605, Montgomery, Alabama

36104.

      4.      Defendant, Ram Partners, LLC (“Ram Partners” or “Defendant”), is

a Georgia corporation with its principal place of business located at 1100 Circle

75 Parkway SE, Suite 1200, Atlanta, Georgia 30339. At all times material hereto,

Defendant Ram Partners provided property management services and maintained

the premises of the subject apartment complex located at 221 Armstrong Street,

Auburn, Alabama 36830. Defendant Ram Partners’ registered agent for service of




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process is Brenda R. Lindner. Ms. Lindner’s physical address for service of

process is 1100 Circle 75 Parkway, SE, Suite 1200, Atlanta, Georgia 30339.

                         JURISDICTION AND VENUE

      5.      Plaintiff is a citizen of the State of Florida. Defendants Bristol

Auburn Partners and Ram Partners are citizens of the States of Tennessee and

Georgia, respectively. The amount in controversy, without interest and costs,

exceeds the sum of value specified by 28 U.S.C. § 1332.

      6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(3).

                                      FACTS

      7.      Sydney Williams moved into apartment 1104 at the Two 21

Armstrong apartment complex on August 17, 2019. She noticed an extremely

strong smell of must and mildew upon entering the apartment.

      8.      On August 18, 2019, Sydney heard dripping in the water heater

closet and discovered a water leak emanating from the apartment above hers. The

floor of the water heater closet was flooded and the ceiling/walls appeared to be

covered in mold. On said date, Sydney submitted a high priority maintenance

request to the apartment complex describing the severity of the situation.

      9.      In late August 2019, employees and/or agents, whose identities are

currently unknown, “completed” Sydney’s maintenance request by stopping the

flooding, scraping the mold spores, and painting over areas that were believed to



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contain mold. Upon information and belief, mold spores were still left on the

ceiling and walls.

      10.    Subsequently, in October 2019, Sydney became extremely sick and

began experiencing the following symptoms: fever, chills, sore throat, muscle

pains, inability to eat, numbness and pain in her extremities, and she was unable

to get out of bed for several days. Due to the severity of her symptoms, Sydney

was unable to complete the remainder of her fall 2019 semester at Auburn

University and was forced to fly home to Edgewater, Florida.

      11.    On November 26, 2019, EMSL Analytical, Inc. performed mold

testing of the subject apartment after it was purportedly remediated and cleaned.

The subject apartment tested positive for the presence of aspergillus/penicillium

mold, Cladosporium mold, and ascotricha/dicyma mold even after it was

allegedly cleaned.

      12.    Sydney was diagnosed with mold toxicity in approximately March of

2020, which resulted from mold exposure at the subject apartment complex.

      13.    As a direct and proximate result of being exposed to dangerous mold

at the subject apartment complex, Sydney Williams has been permanently injured,

has suffered harm and injuries, lost educational opportunities, lost educational

expense, lost income, suffered extreme mental anguish, and has and will

experience emotional suffering in the past and future. Additionally, Plaintiff will



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continue to require medical care and treatment for the injuries she sustained at the

subject apartment complex.

      14.      Defendants knew or should have known that the subject premises

was contaminated by toxic mold, and had been damaged by water, humidity and

that such damage had not been properly remediated.

          COUNT I – NEGLIGENCE AGAINST ALL DEFENDANTS

      15.      Plaintiff restates all of the preceding allegations as if fully stated

herein.

      16.      At all times herein, Defendants, as landlord, owner, operator,

ma n a g e r , and/or successors, or legally beneficial owners had legal duties,

express and implied, to repair and to perform necessary maintenance on the

subject premises, collectively, jointly, and severally, and to comply with all

applicable municipal, state and county codes.

      17.      Defendants were negligent, careless, and reckless in the following

respects, among others, in their failure to:

            a. Prevent or repair water leakage;

            b. replace damp drywall;

            c. remove mold and mildew;

            d. properly install and provide ventilation and plumbing to prevent the

               presence of airborne mold;



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             e. seek proper remediation services of the disrepair which led to the

                growth of toxic and proliferation of toxic mold; and

             f. prevent drywall surfaces from becoming wet and moldy as a result of

                inadequate installation and plumbing provided in the subject

                premises.

       18.      Defendants allowed and permitted damp, water saturated walls,

ceilings, and surfaces and, more particularly, the presence of toxic molds in the

walls and air of the subject premises, which caused airborne spores and toxic

particles to be present in the air of the premises, as well as contaminating all

surfaces and property within the subject premises.

       19.      As a direct and proximate result of Defendants’ negligence,

Plaintiff was damaged and such negligence caused or contributed to cause

Plaintiff to sustain bodily injury in one or more of the following respects, to-

wit:

             a. Extreme fatigue;

             b. headaches;

             c. damaged immune system;

             d. fever;

             e. chills;

             f. sore throat;



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            g. muscle pains;

            h. inability to eat;

            i. numbness and pain in her extremities;

            j. extreme mental anguish and emotional suffering;

            k. other mold exposure related symptoms; and

            l. was and will be required to undergo multiple doctor visits, continued

               medical treatment for permanent injuries resulting from the

               apartment conditions, and additional medical monitoring and care.

      20.      As a direct and proximate result of the aforesaid negligence of

Defendants, Plaintiff has incurred and will continue to incur expenses for the

treatment of the injuries sustained by her, has been caused to sustain pain and

suffering, and will be caused great pain and suffering in the future, all to her

loss and damage.

      21.      As a further direct and proximate result of the aforesaid negligence

of Defendants, Plaintiff lost educational opportunities by being forced to suspend

her college studies, lost educational expenses, was forced to continue to pay rent

for an apartment where she no longer lived, and will lose income in the future as a

result of her lost educational opportunities.

      22.      Therefore, Plaintiff requests this Court enter judgment against the

Defendants for compensatory and punitive damages, plus costs, such interest and



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any other damages as may be allowed by law and demands a trial by jury of all

issues so triable.

          COUNT II – BREACH OF WARRANTY OF HABITABILITY
                      AGAINST ALL DEFENDANTS

       23.      Plaintiff restates all of the preceding allegations as if fully stated

herein.

       24.      Plaintiff was a tenant who entered into a lease agreement for the

subject premises which did not comply with numerous County and State

ordinances, thus rendering the subject premises uninhabitable.

       25.      Plaintiff subsequently suffered dangerous/unsanitary conditions at

the premises including but not limited to:

             a. Exposure to harmful levels of toxic molds;

             b. damp, water saturated walls, ceilings, and surfaces and, more

                particularly, the presence of toxic molds in walls and on surfaces,

                which caused airborne spores and toxic particles to be present in the

                air of the premises, as well as contaminating all surfaces and

                property within the subject premises; and

             c. improperly installed plumbing and other utilities which led to the

                presence of excessive humidity, moisture, and dampness within

                the subject premises, causing and contributing to cause the growth

                of excessive amounts of toxic molds in the walls, air, and on surfaces

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               within the subject premises that caused her to develop various

               illnesses and medical conditions.

      26.      Defendants were given reasonable notice of the defective and

uninhabitable conditions by Plaintiff and failed to adequately correct problems

when notified.

      27.      Defendants failed to restore the premises to a habitable condition.

      28.      Defendants’ failure to provide a safe premise as they represented

to the Plaintiff constitutes breach of the implied warranty of habitability.

      29.      Plaintiff was injured by exposure to toxic mold and sustained bodily

injury, in one or more of the following respects, to-wit:

            a. Extreme fatigue;

            b. headaches;

            c. damaged immune system;

            d. fever;

            e. chills;

            f. sore throat;

            g. muscle pains;

            h. inability to eat;

            i. numbness and pain in her extremities;

            j. extreme mental anguish and emotional suffering;



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               k. other mold exposure related symptoms; and

               l. was and will be required to undergo multiple doctor visits, continued

                  medical treatment for permanent injuries resulting from the

                  apartment conditions, and additional medical monitoring and care.

         30.      Plaintiff, as a direct and proximate result of the negligence of

Defendants, has been damaged in one or more of the following respects, to-wit:

by incurring property damage, lost rent, lost wages, loss of income, higher utility

bills, damage to credit, an inability or decreased ability to work due to injuries

and pain and suffering, anguish of mind, and all other suffering thereto.

         31.      Therefore, Plaintiff requests this Court enter judgment against the

Defendants for compensatory and punitive damages, plus costs, such interest and

any other damages as may be allowed by law and demands a trial by jury of all

issues so triable.

               COUNT III – TRESPASS AGAINST ALL DEFENDANTS

         32.      Plaintiff restates all of the preceding allegations as if fully stated

herein

         33.      At all times set forth herein, Defendants, by and through their

agents, servants and employees, did trespass upon the Plaintiff by interfering

with the Plaintiff’s possessory rights as tenant and intentionally acted in such a




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manner that constituted physical invasion of the Plaintiff’s property as tenant by

allowing prolific growth of mold and other noxious gaseous.

       34.     That all of the acts and conduct of the Defendants were done

without the consent or permission of the Plaintiff.

       35.     By reason of the acts, trespasses, and conduct of the Defendants,

Plaintiff has suffered damages collectively and/or alternatively to her property

in a sum as yet incapable of ascertainment.

       36.     Therefore, Plaintiff requests this Court enter judgment against the

Defendants for compensatory and punitive damages, plus costs, such interest and

any other damages as may be allowed by law and demands a trial by jury of all

issues so triable.

             COUNT IV – NUISANCE AGAINST ALL DEFENDANTS

       37.     Plaintiff restates all of the preceding allegations as if fully stated

herein.

       38.     The actions of Defendants have interfered with the use by Plaintiff

of the subject premises.

       39.     Defendants’ negligence in having, keeping, and maintaining

defective and dangerous conditions on the subject premises has unreasonably

interfered with Plaintiff’s use and enjoyment of the subject premises by causing




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and permitting the presence and accumulation of humidity, excessive moisture,

and toxic molds in the subject premises.

      40.      That due to the negligence of Defendants in having, keeping, and

maintaining defective and dangerous conditions on the subject premises, the

nuisances thereon were caused by the following:

            a. Excessive levels of humidity, moisture and dampness;

            b. sporulation and excessive levels of growth of toxic mold; and

            c. faulty and inadequate installation of plumbing and drainage for the

               subject premises.

      41.      Defendants’ negligence in installation and maintenance of the water

heater, plumbing, and other utilities is so unreasonable, unusual, and unnatural

that it is substantially impairing the rights of Plaintiff to enjoy the subject

premises.

      42.      As a direct and proximate result of Defendants’ acts of nuisance,

Plaintiff was injured by exposure to toxic mold and sustained bodily injury, in

one or more of the following respects, to-wit:

            a. Extreme Fatigue;

            b. headaches;

            c. damaged immune system;

            d. fever;



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             e. chills;

             f. sore throat;

             g. muscle pains;

             h. inability to eat;

             i. numbness and pain in her extremities;

             j. extreme mental anguish and emotional suffering;

             k. other mold exposure related symptoms; and

             l. was and will be required to undergo multiple doctor visits, continued

                medical treatment for permanent injuries resulting from the

                apartment conditions, and additional medical monitoring and care.

       43.      Further, Plaintiff, as a direct and proximate result of the negligence

of Defendants, has been damaged in one or more of the following respects, to-

wit: by incurring property damage, lost rent, lost benefit of the bargain, lost

wages, loss of income, higher utility bills, damage to credit, an inability or

decreased ability to work due to injuries and pain and suffering, anguish of mind,

and all other suffering thereto.

       44.      Therefore, Plaintiff requests this Court enter judgment against the

Defendants for compensatory and punitive damages, plus costs, such interest and

any other damages as may be allowed by law and demands a trial by jury of all

issues so triable.



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                              COUNT V
             RES IPSA LOQUITUR AGAINST ALL DEFENDANTS

      45.      The Plaintiff restates all of the preceding allegations as if fully stated

herein.

      46.      In the alternative to Counts I through V, Defendants are negligent

under the principle of Res Ipsa Loquitur in that the Plaintiff was damaged

because of her occupancy, lease hold, and residency in the subject premises.

      47.      The acts or omissions were caused by instrumentalities under the

exclusive control of the Defendants, including, but not limited to, the lack of

maintenance and ventilation of the air conditioner, dryer, and utilities and

prevention of water leakage and toxic mold growth and proliferation into the air

creating a dangerous condition.

      48.      The acts and omissions which led to Plaintiff’s damages are set

forth below and were under Defendants’ exclusive control. Said acts and

omissions include, but are not limited to, the following:

            a. Failure to maintain facilities which allowed water damage and

               excessive and dangerous levels of mold into the air and other

               noxious gaseous to exist in the subject premises;

            b. failure to maintain facilities which allowed sporulation and excessive

               levels of growth of toxic mold to develop into the air stream;

            c. failing to maintain or maintaining faulty HVAC systems; and

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             d. allowing and failing to maintain excessive water damage from

               leakage of utilities and surrounding units which resulted in acute

               respiratory dysfunction and other injuries as described herein of

               the kind which ordinarily do not occur without someone's negligence.

       49.     That the Defendants had superior knowledge or means of

information as to the causes of the conditions described herein. Defendants,

collectively, were responsible for furnishing and maintaining the premises,

including prevention of water damage, mold growth and proliferation, and poor

air quality and for furnishing a habitable apartment as maintenance, landlords,

owners, and operators.

       50.     Therefore, Plaintiff requests this Court enter judgment against the

Defendants for compensatory and punitive damages, plus costs, such interest and

any other damages as may be allowed by law and demands a trial by jury of all

issues so triable.

                       COUNT VI
  NEGLIGENCE – BREACH OF DUTY FOR FAILURE TO PREVENT
 WATER LEAKAGE AND/OR FAILURE TO PROPERLY REMEDIATE
    WATER LEAKAGE– PROPERTY DAMAGE AGAINST ALL
                     DEFENDANTS

       51.     The Plaintiff restates all of the preceding allegations as if fully stated

herein.




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       52.       Defendants had a legal duty to use the highest degree of care to keep,

repair, operate and maintain each and all of the windows, doors, roofing,

plumbing equipment, appliances and HVAC equipment and all parts, appliances,

apparatuses, pipes, valves, fixtures and insulation thereof, so that the same should

not cause or produce a discharge of water in or about the premises of the

aforementioned apartment occupied by Plaintiff.

       53.       Defendants, collectively and/or alternatively, acting as agents,

servants, successors in interest, predecessors, partnership, and/or legally

beneficial owner, and/or employees of each other, failed to perform this duty in

that they carelessly and negligently caused, suffered, and permitted the windows,

doors, roofing, plumbing, appliances and HVAC equipment and the parts,

appliances, apparatuses, pipes, valves, fixtures and insulation thereof to emit and

discharge water, the exact nature of which is within the peculiar and particular

knowledge of the Defendants and outside the scope and knowledge of Plaintiff,

over and upon the Plaintiff and all parts of her body and upon the furniture,

furnishings, and personal property belonging to Plaintiff located in, on, and about

the premises of the aforementioned subject property occupied by Plaintiff, thereby

causing the injuries and damages to Plaintiff and her property as hereinafter more

fully set out.




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       54.    As a direct and proximate result of the water leakage conditions, the

Plaintiff was damaged and injured in that her property was damaged and that she

was, to an extent not ascertainable with particularity, obliged to expend money for

medical care and suffered loss of education.

       55.    As a direct and proximate result of the negligence and carelessness of

Defendants, their agents, servants and employees, as aforesaid, at the time and

place as stated, Plaintiff, due to water leakage and mold accumulation, sustained

damage to her household items, including, but not limited to, furniture, clothes,

documents, and all other personal items. Further, Plaintiff seeks compensatory

damages and punitive damages for lost wages, lost educational opportunities, rent

expenditures, pain and suffering, property damage, and leasing space to Plaintiff

when Defendants knew or should have known that water leakage and mold

existed on the premises.

       56.    Therefore, Plaintiff requests this Court enter judgment against the

Defendants for compensatory and punitive damages, plus costs, such interest and

any other damages as may be allowed by law and demands a trial by jury of all

issues so triable.

                           DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all claims so triable.




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